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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



 BOROZNY, et al.; on behalf of themselves and                  Case No. 3:21-cv-01657 (SVN)
 all others similarly situated,

                          Plaintiffs,                          Class Action

        v.

  RAYTHEON TECHNOLOGIES                                        June 27, 2022
  CORPORATION, PRATT & WHITNEY
  DIVISION; et al.,

                          Defendants.


                  CERTAIN DEFENDANTS’ MOTION FOR EXTENSION
                      OF TIME TO RESPOND TO DISCOVERY

       Pursuant to D. Conn. L. Civ. R. 7(b), Defendants Raytheon Technologies Corporation,

Pratt & Whitney Division, Belcan Engineering Group, LLC, Cyient, Inc., Parametric Solutions,

Inc., QuEST Global Services-NA, Inc. (the “Corporate Defendants”), and Mahesh Patel, Thomas

Edwards, Robert Harvey, Steven Houghtaling, Gary Prus, and Harpreet Wasan (the “Individual

Defendants” and with the Corporate Defendants collectively, “Defendants”), by and through their

respective undersigned counsel, respectfully move for an extension of time to object and respond

to Plaintiffs’ First Set of Requests for Production of Documents served on each Defendant on June

1, 2022, to the later of August 1, 2022, or the date(s) for responses and objections set by the Court

in a scheduling order.

       As good cause for the granting of the requested extension of time, Defendants state that on

June 1, 2022, Plaintiffs served Plaintiffs’ First Set of Requests for Production of Documents to the

Corporate Defendants (the “Corporate Defendant Requests”). The Corporate Defendant Requests
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contain 66 numbered requests, many of which include discrete subparts. The Corporate Defendants

require additional time to fully analyze the voluminous Corporate Defendant Requests in order to

propound objections and provide written responses.

       Also on June 1, 2022, Plaintiffs served Plaintiffs’ First Set of Requests for Production of

Documents to the Individual Defendants (the “Individual Defendant Requests”). The Individual

Defendant Requests contain 20 numbered requests, several of which include discrete subparts. The

Individual Defendants require additional time to analyze the propriety of a motion to stay all

discovery as to them in light of the pending criminal action, United States v. Patel et al., Case No.

3:21-cr-00220-VAB (the “Criminal Proceedings”), in which each of the Individual Defendants is

a named defendant, as well as to propound objections and provide written responses to the

Individual Defendant Requests in the absence of the filing of a motion to stay discovery.

       Moreover, on June 14, 2022, the parties submitted their Form 26(f) Report of Parties’

Planning Meeting (ECF No. 453, hereinafter, the “Proposed Scheduling Order”) setting forth the

parties’ respective positions on scheduling in this case. In the Proposed Scheduling Order,

Defendants urge that discovery be conducted in stages. (See Proposed Scheduling Order at 15-17.)

Should the Court order staged discovery as proposed by Defendants, Defendants would not be

required to respond to either the Corporate Defendant Requests or the Individual Defendant

Requests until after the conclusion of the Criminal Proceedings. Document productions, if any,

made prior to the conclusion of the Criminal Proceedings would be by agreement of the parties

and would not require responses and objections to any of the requests, all of which would be

reserved.

       Thus, Defendants respectfully move for an extension of time to respond to the Corporate

Defendant Requests and the Individual Defendant Requests to the later of August 1, 2022, a 31-




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day extension, or the date(s) for responses and objections set by the Court in a forthcoming

scheduling order. (See ECF No. 454 (order setting Rule 16 Scheduling Conference for June 28,

2022).)

          This is Defendants’ first request for an extension of time with respect to Plaintiffs’

Corporate Defendant Requests and Individual Defendant Requests. Pursuant to D. Conn. L. Civ.

R. 7(b)(2), counsel for Defendants corresponded with counsel of record for Plaintiffs and counsel

of record for defendants Agilis Engineering, Inc. (“Agilis”) and Frank O’Neil, (“Mr. O’Neil”), to

ascertain their respective position on the relief requested by Defendants. Counsel for Agilis and

Mr. O’Neil indicated that Agilis and Mr. O’Neil have no objection to the requested relief.

          Plaintiff’s counsel stated that “Plaintiffs are willing to agree to an extension of Defendants’

deadline to respond and object to Plaintiffs’ RFPs to August 1, 2022 , or whatever date the Court

orders, on the condition that we begin discussions promptly on data—including sources of

structured data—custodians, search terms, and the service of initial disclosures and production of

org charts.” Certain of the Corporate Defendants have been in contact with plaintiffs’ counsel to

initiate discussions on certain, but not all, of these matters and the remaining Corporate Defendants

will do so in short order.




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